Case 1:14-ml-02570-RLY-TAB Document 22431 Filed 07/27/22 Page 1 of 2 PageID #:
                                 132603



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC
 FILTERS MARKETING, SALES PRACTICES AND                       Case No. 1:14-ml-2570-RLY-TAB
 PRODUCT LIABILITY LITIGATION                                           MDL No. 2570


 This Document Relates to:

 Sanders, Mark – Case No. 1:21-cv-02895


                         STIPULATED DISMISSAL WITH PREJUDICE

       The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) and CMO-28, that Plaintiff’s claims against all Defendants shall be

dismissed with prejudice. Each party shall bear its own fees and costs.

Dated: July 26, 2022.


/s/ A. Craig Eiland                          /s/ Jessica Benson Cox
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Attorney for Plaintiff                       Attorney for Defendants
Case 1:14-ml-02570-RLY-TAB Document 22431 Filed 07/27/22 Page 2 of 2 PageID #:
                                 132604



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of July 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                                    /s/ A. Craig Eiland
                                                    A. Craig Eiland




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